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                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF VIRGINIA
                                 RICHMOND DIVISION

IN RE:                                                              BCN#: 17-34844-KLP
Michelle C Taylor                                                   Chapter: 13
Debtor(s)


                           NOTICE OF MOTION (OR OBJECTION)

        U.S. Bank National Association, as Trustee for Credit Suisse First Boston Mortgage
Securities Corp., Home Equity Asset Trust 2005-5, Home Equity Pass-Through Certificates,
Series 2005-5 has filed papers with the court objecting to the confirmation of the proposed
Chapter 13 plan.

       Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you
may wish to consult one.)

        If you do not want the court to grant the relief sought in the Objection, or if you want the
court to consider your views on the Objection, then on or before November 16, 2017, you or your
attorney must:

              File with the court, at the address shown below, a written request for a hearing [or
               a written response pursuant to Local Bankruptcy Rule 9013-1(H)]. If you mail
               your request for hearing (or response) to the court for filing, you must mail it early
               enough so the court will receive it on or before the date stated above.

                       U.S. Bankruptcy Court
                       701 East Broad Street,
                       Suite 4000
                       Richmond, VA 23219

               You must also send a copy to:
                     Gregory N. Britto, Esquire
                     Malcolm B. Savage, III, Esquire
                     William M. Savage, Esquire
                     Mary F. Balthasar Lake, Esquire
                     Leonard C. Tengco, Esquire
                     SHAPIRO & BROWN, LLP
                     501 Independence Parkway, Suite 203
                     Chesapeake, Virginia 23320
                     (703) 449-5800

              Attend a hearing to be scheduled on 12/06/2017, 09:10 AM, Judge Phillips'
               Courtroom, 701 E. Broad St., Rm. 5100, Richmond, Virginia. If no timely
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               response has been filed opposing the relief requested, the court may grant the
               relief without holding a hearing.

       If you or your attorney do not take these steps, the court may decide that you do not
oppose the relief sought in the motion or objection and may enter an order granting that relief.


Dated: November 1, 2017               SHAPIRO & BROWN, LLP
                                      Attorneys for U.S. Bank National Association, as Trustee
                                      for Credit Suisse First Boston Mortgage Securities Corp.,
                                      Home Equity Asset Trust 2005-5, Home Equity Pass-
                                      Through Certificates, Series 2005-5


                                  By: /s/ Mary F. Balthasar Lake
                                      Gregory N. Britto, Esquire
                                      VSB #23476
                                      Malcolm B. Savage, III, Esquire
                                      VSB #91050
                                      William M. Savage, Esquire
                                      VSB #26155
                                      Thomas J. Gartner, Esquire
                                      VSB #79340
                                      Mary F. Balthasar Lake, Esquire
                                      VSB #34899
                                      Leonard C. Tengco, Esquire
                                      VSB #76395
                                      SHAPIRO & BROWN, LLP
                                      501 Independence Parkway, Suite 203
                                      Chesapeake, Virginia 23320
                                      (703) 449-5800
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                                  CERTIFICATE OF SERVICE


       I certify that I have this 1st day of November, 2017, electronically transmitted and/or
mailed by first class mail, postage pre-paid or hand-delivered a true copy of the foregoing Notice
of Motion (or Objection) to the following:

Pia J. North
North Law
5913 Harbour Park Drive
Midlothian, VA 23112

Suzanne E. Wade
P.O. Box 1780
Richmond, VA 23218-1780

Michelle C Taylor
5701 BARNWOOD DRIVE
Richmond, VA 23234



                                      Mary F. Balthasar Lake
                                      Gregory N. Britto, Esquire
                                      Malcolm B. Savage, III, Esquire
                                      William M. Savage, Esquire
                                      Mary F. Balthasar Lake, Esquire
                                      Leonard C. Tengco, Esquire



Gregory N. Britto, Esquire
Malcolm B. Savage, III, Esquire
William M. Savage, Esquire
Mary F. Balthasar Lake, Esquire
Leonard C. Tengco, Esquire
Shapiro & Brown, LLP Attorney for
Wells Fargo Bank, N.A.
501 Independence Parkway, Suite 203
Chesapeake, Virginia 23320
(703) 449-5800 13-235142
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                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF VIRGINIA
                                 RICHMOND DIVISION

IN RE:                                                             BCN#: 17-34844-KLP
Michelle C Taylor                                                  Chapter: 13
Debtor(s)

  OBJECTION OF U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR CREDIT
  SUISSE FIRST BOSTON MORTGAGE SECURITIES CORP., HOME EQUITY ASSET
   TRUST 2005-5, HOME EQUITY PASS-THROUGH CERTIFICATES, SERIES 2005-5
                    TO PROPOSED CHAPTER 13 PLAN AND
                         CONFIRMATION THEREOF

        U.S. Bank National Association, as Trustee for Credit Suisse First Boston Mortgage
Securities Corp., Home Equity Asset Trust 2005-5, Home Equity Pass-Through Certificates,
Series 2005-5, and its assignees and/or successors in interest, a secured creditor in the above-
entitled Bankruptcy proceeding, hereby submits the following objections to the confirmation of
the Chapter 13 Plan proposed by Debtor:

       1.      This objecting secured creditor is the beneficiary of a trust deed on property
commonly known as 5701 BARNWOOD DRIVE, Richmond, VA 23234; the promissory note
and deed of trust were attached to the proof of claim filed by the secured creditor.

      2.       The debtor is due for Principal and interest in the amount of $75,940.28,
Prepetition fees in the amount of $6,366.39, an Escrow deficiency for funds advanced in the
amount of $17,460.00, and a Projected escrow shortage in the amount of $1,367.56.

      3.      The proposed Plan does not set forth a reasonable schedule and time period for the
payment of arrearages on the deed of trust.

       4.     The proposed Chapter 13 plan does not provide this objecting secured creditor
with adequate protection or adequate security, according to Sections 362 and 1325(a) of the
Code.

        5.       The Plan does not propose to pay the secured creditor's entire claim as shown in
its proof of claim in the amount of $101,134.23.

/s/ Mary F. Balthasar Lake
Gregory N. Britto, Esquire
Malcolm B. Savage, III, Esquire
William M. Savage, Esquire
Mary F. Balthasar Lake, Esquire
Leonard C. Tengco, Esquire
Shapiro & Brown, LLP
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                                         CONCLUSION

        Any Chapter 13 Plan proposed by Debtors must provide for and eliminate the objections
specified above in order to be feasible and to provide adequate protection to this objecting
secured creditor. It is respectfully requested that confirmation of the Chapter 13 Plan as
proposed by Debtor be denied.

       WHEREFORE, secured creditor prays as follows:

       1.      That confirmation of the proposed Chapter 13 Plan be denied.
       2.      For attorney's fees and costs incurred herein.
       3.      That a hearing be held December 6, 2017, at 9:10 am at Judge Phillips'
               Courtroom, 701 E. Broad St., Rm. 5100, Richmond, Virginia. on this objection.
       4.      For such other relief as this Court deems proper.

Dated: November 1, 2017              Respectfully submitted
                                     U.S. Bank National Association, as Trustee for Credit
                                     Suisse First Boston Mortgage Securities Corp., Home
                                     Equity Asset Trust 2005-5, Home Equity Pass-Through
                                     Certificates, Series 2005-5
                                     By Counsel:

                                     /s/ Mary F. Balthasar
                                     Gregory N. Britto, Esquire
                                     Malcolm B. Savage, III, Esquire
                                     William M. Savage, Esquire
                                     Mary F. Balthasar Lake, Esquire
                                     Leonard C. Tengco, Esquire
                                     Shapiro & Brown, LLP
                                     501 Independence Parkway, Suite 203
                                     Chesapeake, Virginia 23320
                                     (703) 449-5800

I certify that I have electronically transmitted and/or mailed true copies of the above Objections
to the Chapter 13 Plan, by First Class Mail, postage prepaid on this 1st day of November, 2017 to
the following:

Pia J. North                  Suzanne E. Wade                      Michelle C Taylor
North Law                     P.O. Box 1780                        5701 BARNWOOD DRIVE
5913 Harbour Park Drive       Richmond, VA 23218-1780              Richmond, VA 23234
Midlothian, VA 23112

                                     /s/ Mary F. Balthasar Lake
                                     Gregory N. Britto, Esquire
                                     Malcolm B. Savage, III, Esquire
                                     William M. Savage, Esquire
                                     Mary F. Balthasar Lake, Esquire
                                     Leonard C. Tengco, Esquire
